Case 8:06-cr-00279-WFJ-TGW Document 305 Filed 08/25/09 Page 1 of 6 PageID 532




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



HENRY LERMA,

v.                                       Case No. 8:06-cr-279-T-17TBM
                                                  8:09-cv-1486-T-17TBM

UNITED STATES OF AMERICA.



                                          ORDER

       THIS CAUSE is before the Court on Defendant Lerma’s construed motion to vacate,

set aside or correct sentence. (Doc. cv-1; cr-303). Because review "of the motion and the

file and records of the case conclusively show that the defendant is entitled to no relief," the

Court will not cause notice thereof to be served upon the United States Attorney but shall

proceed to address the matter. See 28 U.S.C. § 2255.

       First, Defendant Lerma is barred from raising the claims he raises in the present

motion because he previously raised most of these claims on direct appeal, and could have

raised the remaining claims on direct appeal. In its judgment order, dated November 19,

2007, the United States Court of Appeals for the Eleventh Circuit affirmed this Court’s order

as to Lerma’s sentencing. The Eleventh Circuit stated:

             Henry Lerma appeals his 168-month sentence for conspiracy to
       possess with intent to distribute 5 kilograms or more of cocaine while aboard
       a vessel subject to the jurisdiction of the United States, in violation of 46
       U.S.C. App. § 1903(a), (g), (j) and 21 U.S.C. § 960(b)(l)(B)(ii), and
       possession with intent to distribute 5 kilograms or more of cocaine while
       aboard a vessel subject to the jurisdiction of the United States, in violation of
       46 U.S.C. App. § 1903(a), (g), 21 U.S.C. § 960(b)(l)(B)(ii) and 18 U.S.C. §
       2.1
             Lerma was one of nine crew members on a small vessel transporting
Case 8:06-cr-00279-WFJ-TGW Document 305 Filed 08/25/09 Page 2 of 6 PageID 533




      approximately 5,000 kilograms of cocaine. Lerma was one of four deck
      hands and took turns with the other deck hands driving the vessel in
      three-hour shifts.
              When the United States Coast Guard ("USCG") came upon the
      vessel, one of the crew members instructed the others to pour gasoline on
      the vessel and set it on fire in an attempt to destroy the cocaine. The USCG
      boarded the vessel and extinguished the fire, but not before Lerma and
      another crew member sustained second and third degree burns that required
      medical attention at a hospital.
              Lerma was indicted and pled guilty to both counts. The presentence
      investigation report ("PSI") set Lerma's base offense level at 38, pursuant to
      U.S.S.G. § 2D1. l(a)(3), based on the 5,000 kilograms of cocaine found on
      the vessel. The PSI recommended a three-level reduction for acceptance of
      responsibility, pursuant to U.S.S.G. § 3E1.1. With a criminal history category
      of I, the resulting guideline range was 168 to 210 months' imprisonment.
              Lerma objected to the PSI's failure to include a two-level safety-valve
      reduction and a two-level mitigating-role reduction. At sentencing, the district
      court overruled Lerma's objections and imposed a 168-month sentence on
      both counts, to be served concurrently. Lerma filed this appeal.
                                         I. DISCUSSION
      A. Safety-Valve Relief
              On appeal, Lerma argues that the district court erred when it denied
      him a two-level reduction under the safety-valve provision of the Sentencing
      Guidelines. Under the safety-valve provision, if a defendant convicted of
      certain drug crimes satisfies certain criteria, a district court shall impose a
      sentence without regard to any statutory mandatory minimum, 18 U.S.C. §
      3553(f), U.S.S.G. § 5C1.2, and also give a two-level reduction in the
      defendant's offense level, U.S.S.G. § 2Dl.l(b)(9). A defendant has the burden
      of proving his eligibility for safety-valve relief. United States v. Cruz, 106 F.3d
      1553, 1557 (11th Cir. 1997). Among the criteria that must be met, the
      defendant must prove that "the offense did not result in death or serious
      bodily injury to any person." U.S.S.G. § 5C1.2(a)(3).
              Here, it is undisputed that two people sustained serious bodily injury
      during the offense. Lerma and one of his co-defendants were seriously
      burned and required hospitalization. Lerma admits these burns constituted
      serious bodily injury.
              Lerma points out that he sustained injuries and that he has already
      endured pain and suffering as a result of his injuries. He also argues that he
      saved another co-defendant's life by helping him put on a life jacket and
      pushing him overboard.
              The plain language of § 5C1.2(a)(3) states that a defendant is
      precluded from safety-valve relief if the offense resulted in serious bodily
      injury to any. person. Thus, the injuries to Lerma's co-defendant alone
      preclude the relief. Furthermore, nothing in § 5C1.2 or 18 U.S.C. § 3553(f)
      provides for safety-valve relief where a co-defendant sustains serious injury,

                                              2
Case 8:06-cr-00279-WFJ-TGW Document 305 Filed 08/25/09 Page 3 of 6 PageID 534




      but the defendant also saved a co-defendant's life.
               Because Lerma did not meet the requirements of § 5C1.2(a)(3), the
      district court correctly denied Lerma a two-level safety-valve reduction.
      B. Mitigating-Role Reduction
               Lerma contends that the district court should have awarded him a
      two-level mitigating-role reduction because he was merely a crew member
      aboard the vessel.
               If the defendant was a minor participant in the criminal activity, the
      district court decreases the offense level by two levels. U.S.S.G. § 3B1.2(b).
      A minor participant is one "who is less culpable than most other participants,
      but whose role could not be described as minimal." U.S.S.G. § 3B1.2 cmt.
      n.5. If the defendant was a minimal participant in the criminal activity, the
      district court decreases the offense level by four levels. U.S.S.G. § 3B1.2(a).
      A minimal participant is one who "plays a minimal role in concerted activity"
      and the phrase "is intended to cover defendants who are plainly among the
      least culpable of those involved in the conduct of a group." U.S.S.G. § 3B1.2
      cmt. n.4. The defendant has the burden to establish his role in the offense by
      a preponderance of the evidence. United States v. De Varon, 175 F.3d 930,
      939 (11th Cir. 1999) (en banc).
               In determining whether a mitigating-role reduction applies, the district
      court considers two principles: (1) the defendant's role in the offense
      compared to the relevant conduct attributed to him in calculating his base
      offense level; and (2) the defendant's role compared to that of other
      participants in the offense. Id. at 940- 45. "[I]n the drug courier context... the
      amount of drugs imported is a material consideration in assessing a
      defendant's role in [his] relevant conduct [and] may be dispositive - in and of
      itself- in the extreme case." Id. at 943. Additionally, "when a drug courier's
      relevant conduct is limited to [his] own act of importation, a district court may
      legitimately conclude that the courier played an important or essential role in
      the importation of those drugs." Id. at 942-43.
               Here, Lerma was held accountable for only the amount of cocaine
      found on board the vessel. Thus, Lerma's relevant conduct was identical to
      his actual conduct in the importation scheme. Furthermore, the amount of
      drugs Lerma and his co-defendants were transporting - 5,000 kilograms -
      was substantial.
               In addition, Lerma did not show that he was less culpable than most
      of the other identifiable participants in the offense. Lerma was one of four
      deck hands on the vessel. As part of his job, Lerma took shifts driving the
      vessel. While Lerma and the other deck hands may have been less culpable
      than the captain of the vessel or the "load guard," we cannot say Lerma was
      a minor participant. See id. at 944 (explaining that it is possible for there to
      be no minor participants in a conspiracy).
               Lerma's contention that the district court failed to "make a specific
      comparison" to Lerma's co-defendants is without merit. The district court
      stated on the record that Lerma was "similarly situated with the other

                                              3
Case 8:06-cr-00279-WFJ-TGW Document 305 Filed 08/25/09 Page 4 of 6 PageID 535




       defendants ...." In any event, the district court is not required to compare
       each identifiable participant to the defendant on the record. See De Varon.
       175 F.3d at 940 ("[A] district court is not required to make any specific
       findings other than the ultimate determination of the defendant's role in the
       offense.").
              Thus, the district court did not clearly err in denying Lerma a
       mitigating-role adjustment. AFFIRMED.

       Prior resolution of Defendant's claims bars reconsideration of those claims because,

generally, claims raised and disposed of in a previous appeal are precluded from

reconsideration in a Section 2255 proceeding. Davis v. United States, 417 U.S. 333

(1974); United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir. 1981). Defendant Lerma

has not established any extraordinary circumstance that would justify reconsideration of

these claims. See Schlup v. Delo, 15 S. Ct. 851 (1995); Davis v. United States, 417 U.S.

333.

                        Present Motion To Vacate Is Time-Barred

       On April 24, 1996, a substantial amendment to 28 U.S.C. § 2255 became effective.

That amendment, § 105 of the Antiterrorism and Effective Death Penalty Act of 1995

("AEDPA"), Pub. L. No. 104-132, 110 Stat. 1214, established a one-year "period of

limitation" for the filing of a § 2255 motion, to run from the latest of: 1) the date on which

the judgment of conviction becomes final; 2) the date any unconstitutional government

impediment, if any, precluding the movant from making a motion is removed; 3) the date

on which the right asserted was initially recognized by the United States Supreme Court;

or 4) the date on which the facts supporting the claim could have been discovered through

the exercise of due diligence. 28 U.S.C. § 2255, as amended by Pub. L. No. 104-132, Title

1, § 105 (Apr. 24, 1996).

       For final judgments entered after the effective date of the AEDPA, or April 24, 1996,

                                              4
Case 8:06-cr-00279-WFJ-TGW Document 305 Filed 08/25/09 Page 5 of 6 PageID 536




as in this case, the statute of limitations begins to run on the date the district court's

judgment becomes final. A conviction becomes "final" when the Supreme Court has denied

certiorari. Since Lerma did not file a petition for writ of certiorari, the judgment became

"final" when the possibility of further direct appellate review was exhausted, 90 days from

the entry of judgment. Lerma’s conviction became final on February 17, 2008, when the

time for seeking certiorari review had expired; therefore, he had until February 18, 2009,

to file a timely section 2255 motion. See Kaufmann v. United States, 282 F.3d 1336, 1338

(11th Cir.) (when prisoner does not petition for certiorari, conviction does not become "final"

for purposes of section 2255 until expiration of 90-day period for seeking certiorari), cert.

denied, 123 S.Ct. 287 (2002). Lerma did not sign the present construed motion to vacate

until August 3, 2009. Therefore, the construed 28 U.S.C. § 2255 motion to vacate is time-

barred.

       Lerma has not presented any exceptional circumstances for tolling the one-year

limitation period.

       Accordingly, the Court orders:

       That Lerma’s construed motion to vacate (Doc. cv-1; cr-303) is denied. The Clerk

is directed to enter judgment against Lerma in the civil case and to close that case.

                         CERTIFICATE OF APPEALABILITY AND

                     LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

       IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

a district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the applicant

                                                5
Case 8:06-cr-00279-WFJ-TGW Document 305 Filed 08/25/09 Page 6 of 6 PageID 537




has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2).

To make such a showing, Defendant “must demonstrate that reasonable jurists would find

the district court's assessment of the constitutional claims debatable or wrong,” Tennard

v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

or that “the issues presented were ‘adequate to deserve encouragement to proceed further,

’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

880, 893 n. 4 (1983)). Defendant has not made the requisite showing in these

circumstances.

       Finally, because Defendant is not entitled to a certificate of appealability, he is not

entitled to appeal in forma pauperis.

       ORDERED at Tampa, Florida, on August 25, 2009.




AUSA: James A. Muench
Henry Lerma, Pro se




                                              6
